Case 23-40709   Doc 70-6 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                  F - DE Administrative Dissolution Page 1 of 2




                           Exhibit F
           Case 23-40709            Doc 70-6 Filed 01/16/24 Entered 01/16/24 13:03:39             Desc Exhibit
                                                   State Of Delaware
                                      F - DE Administrative Dissolution Page 2 of 2
                                                        Entity Details
                                                                                                   11/21/2022 12:18:17AM


        File Number: 2811561                             Incorporation Date / Formation Date: 10/22/1997

        Entity Name: WESTBOROUGH SPE LLC
          Entity Kind: Limited Liability Company            Entity Type: General
          Residency: Domestic                                       State: DELAWARE
               Status: Cancelled, Failure to Pay Tax       Status Date: 6/1/2014

Registered Agent Information
               Name: CORPORATION SERVICE COMPANY
            Address: 251 LITTLE FALLS DRIVE
                  City: WILMINGTON                               Country:
                State: DE                                   Postal Code: 19808
               Phone: 302-636-5401
Tax Information
Last AnnualReport Filed:     0                                  Tax Due: $ 1593
Annual Tax Assessment:       $250                            Total Authorized Shares:

Filing History (Last 5 Filings)

  Seq                             Description            No of Pages          Filing Date    Filing Time       Effective Date
                                                                              mm/dd/yyyy                        mm/dd/yyyy

   1     L.P/L.L.C. Restoration                                 3           7/13/1999       9:00 AM        7/13/1999

   2     LLC                                                    1           10/22/1997      9:00 AM        10/22/1997
